Case 2:03-cV-02878-.]P|\/|-de Document 45 Filed 05/03/05 Page 1 of 2 Page|D 54

 

 

IN THE UNITED STATES DISTRICT CoURT ,, t _ JS{,/
FOR THE WESTERN DISTRICT oF TENNESSEE hmo ’W-
WESTERN DIVISION -. ,.
_.:s:j r ~3 an L;.: 51
AMERICAN PloNEER TITLE
INSURANCE CoMPANY,
Plaimiff,

v. No. 03-2878 Mlv

VERMA Y. PINKNEY,

BASIL S. BUCI-IANAN and

GARY L. JEWEL,
Defendants.

GARY L. JEWEL,
Third-party Pla`mtiff,

V.

AMSOUTH BANK,

Third-party Defendant.

 

()RDER GRANTING M()TION FOR LEAVE TO FILE
FOURTH-PARTY COMPLAINT

 

lT APPEARING to the Court that AmSouth Bank’s motion for leave to file a fourth-party
complaint is for good cause and Should be granted

ll` IS, THEREFORE, ORDERED, ADJUDGED AND DECREED that AmSouth Bank Shall
be and is hereby granted leave to file its fourth-party complaint against Verma Y. Pinkney and Basil

S. Buchanan.
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So oRI)ERED, mls the 3 day of

 

tates -Distr`rct'€ouft Judge
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`~t'e 58 and/or 79{a) FF!CP on

 

RT WESTERN ISRICT oF TENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 45 in
case 2:03-CV-02878 Was distributed by faX, mail, or direct printing on
May 5, 2005 to the parties listed.

 

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Honorable .1 on l\/lcCalla
US DISTRICT COURT

